 Case 2:19-cv-04618-RGK-JPR Document 206 Filed 07/27/21 Page 1 of 2 Page ID #:11522



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 8                                   UNITED STATES DISTRICT COURT

 9                               CENTRAL DISTRICT OF CALIFORNIA

10
     Y.Y.G.M. SA ,                                           )       2:19-cv-04618-RGK-JPR
11                                                           )
                     Plaintiff(s),                           )
12                                                           )       FINAL JUDGMENT
     vs.                                                     )
13                                                           )
     Redbubble, Inc.                                         )
14                                                           )
                Defendant(s).                                )
15   __________________________________                      )

16

17          This case proceeded to a jury trial in June of 2021, after which the jury found Defendant

18   liable for willful contributory counterfeiting of Plaintiff’s Brandy Melville Heart Mark and LA

19   Lightning Mark, and contributory trademark infringement. The jury awarded Plaintiff $200,000

20   in damages for the contributory counterfeiting of the LA Lightning Mark, $300,000 in damages

21   for the contributory counterfeiting of the Brandy Melville Heart Mark, and $20,000 for

22   contributory trademark infringement, for a total verdict of $520,000. On July 27, 2021, the Court

23   granted in part Defendant’s Motion for Judgment as a Matter of Law. (ECF No. 204).

24   Specifically, the Court granted judgment in favor of Defendant on Plaintiff’s claim for

25   contributory counterfeit of the Brandy Melville Heart Mark, and denied Defendant’s motion in

26   all other respects. The jury’s verdict was otherwise upheld. The Court hereby ENTERS FINAL

27   JUDGMENT in favor of Plaintiff as to Plaintiff’s claims for contributory trademark

28   infringement and contributory counterfeiting of the LA Lightning Mark, and ENTERS FINAL
 Case 2:19-cv-04618-RGK-JPR Document 206 Filed 07/27/21 Page 2 of 2 Page ID #:11523



 1   JUDGMENT in favor of Defendant on Plaintiff’s claim for contributory counterfeiting of the

 2   Brandy Melville Heart Mark. The jury verdict is hereby reduced from $520,000 to $220,000.

 3
            IT IS SO ORDERED.
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     Dated: July 26, 2021                                     ___________________________
 5                                                            The Hon. R. Gary Klausner
                                                              United States District Judge
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